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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

UNITED STATES OF AMERICA

VS.                                4:16-CR-00132-01-SWW

ELBERT BILLUPS

                                        ORDER

          For the reasons set out below, Defendant’s Motion for Compassionate

Release (Doc. No. 87) is DENIED.

I.        BACKGROUND

          On May 10, 2018, Defendant pled guilty to conspiracy to possess with intent

to distribute cocaine and possession with intent to distribute cocaine.1 On August

28, 2018, he was sentenced to 60 months in prison on each count to run

concurrently.2

II.       DISCUSSION

          Although the First Step Act made the procedural hurdles for compassionate

release a bit less strenuous, a defendant still must establish “extraordinary and

compelling reasons” and that release would not be contrary to the 18 U.S.C.


1
    Doc. No. 73.
2
    Doc. Nos. 79, 81.

                                           1
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§ 3553(a) factors.3

       Before a defendant may seek compassionate release under the First Step Act,

he must first make the request with the Bureau of Prisons and exhaust his

administrative remedies there.4 Defendant alleges that he requested compassionate

relief from the warden on September 11, 2020 and has not received a response.

Thirty days have passed since he submitted that request and has not received a

response. Accordingly, this Court appears to have jurisdiction to consider the

request.

       To support his request for compassionate release, Defendant contends he is

at a higher risk of suffering from COVID-19 because he is African-American and

is not able to socially distance while incarcerated in prison. First, this is not a

health condition that provides “extraordinary and compelling” reasons to support

Defendant’s release. Although the First Step Act did not define this phrase, it

defers to the United States Sentencing Guidelines, which does set out examples.

The inability to socially distance is not listed. Second, “fear of contracting



3
 18 U.S.C. § 3553(a)(2) mandates that any sentence imposed reflect the seriousness of the
offense, afford adequate deterrence, protect the public, and provide the defendant with
appropriate rehabilitation.
4
 See United States v. Smith, Case No. 4:95-CR-00019-LPR-4, Doc. No. 440 (E.D. Ark. May 14,
2020) (no jurisdiction when defendant fails to exhaust administrative remedies).

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COVID-19 or of experiencing more intense symptoms than the average person are

not extraordinary or compelling enough reasons for release.”5 Third, Defendant is

58 years old and has served less than 50% of his sentence, which means he does

not meet the age or minimum served time requirements under the Guidelines.

      Even if Defendant could establish extraordinary and compelling reasons, his

request for relief must be denied because of the § 3553(a) factors – specifically,

protecting the public from additional crimes by Defendant and reflecting the

severity of the offense. In October 2014, an Arkansas State Police trooper

conducted a traffic stop on vehicle Defendant was driving. During a pat-down of

Defendant, the trooper discovered 1.0006 kilograms of cocaine around Defendant’s

waist. Ultimately, Defendant was found to be carrying over 3.011 kilograms of

cocaine.

                                   CONCLUSION

      For the reasons stated, Defendant’s Motion for Compassionate Release

(Doc. No. 87) is DENIED.

      IT IS SO ORDERED, this 6th day of November, 2020.

                                         /s/Susan Webber Wright
                                         UNITED STATES DISTRICT JUDGE


5
 United States v. Osborne, No. 4:05-CR-00109-BSM-12, 2020 WL 3258609, at *2 (E.D. Ark.
June 16, 2020).

                                           3
